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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


JUUL LABS, INC.,

                       Plaintiff,


v.                                                       Civil Action No. 1:19-cv-00715-LO-IDD


THE UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,


                       Defendants.




                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of July, 2019, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, and that there are no counsel of record for

defendants at this time.
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Date: July 8, 2019                   /s/ Monica Riva Talley
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